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ATTACHMENT 1

Exhibit No. ECF No. Description Basis for Sealing

Plaintiffs’ Exhibits

Plaintiffs 671-14 Email correspondence from S. Edlavitch to C. | Plaintiffs request redactions colored yellow because
Exhibit Koepke, ef a/., with subject “TRACKER,” they contain contact information for CMS staff, which,
(“PX”) 65 dated February 5, 2021, with Bates number if disclosed, would threaten to disrupt orderly and
CMS-ADS-0000250880. efficient agency operations. See Decl. of Christopher
Koepke (CMS) §§ 12, 14, ECF No. 666-12.

PX 68 671-15 A document titled “Client Authorization to Plaintiffs request redactions colored yellow because
Buy #1,” dated February 1, 2021, with Bates they contain contact information for CMS staff, which,
number range CMS-ADS-0001139301. if disclosed, would threaten to disrupt orderly and

efficient agency operations. See Decl. of Christopher
Koepke (CMS) §§ 11, 14, ECF No. 666-12.

PX 70 659-8 FY 2022 media plan and cover email, with Plaintiffs request redactions colored yellow because (a)
beginning Bates number ARMY-ADS- metrics and data in this document are commercially
0000336340. sensitive and not available to the general public, and

making them available on the public docket could
prejudice the Army’s ability to conduct business, and
(b) contact information for Army staff included in the
documents cited in this declaration is not widely
published or available to the general public as a matter
of course, and making it available on the public docket
threatens to disrupt orderly and efficient agency
operations. See Decl. of Col. John Horning (Army) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal 4§ 8-9
(filed herewith).

PX 72 671-17 Excerpt of a 2022 media plan showing digital | Plaintiffs request redactions colored yellow because
and display budgets and channel contact information for Navy staff is not widely
recommendations, and a cover email published or available to the general public as a matter
approving the plan, with a Beginning bates of course and making it available on the public docket
number NAVY-ADS-0000045197. threatens to disrupt orderly and efficient agency

operations. See Decl. of Allen Owens (Navy) § 9, ECF
No. 666-17.

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Exhibit No.

ECF No.

Description

Basis for Sealing

PX 78

671-21

Excerpts from a presentation titled “FY’22
Holiday Media Recommendation,” dated
September 17, 2021, with Bates number range
USPS-ADS-0000064864 to USPS-ADS-
0000064942.

Plaintiffs request redactions colored yellow for the

following:

1. Pages with Bates numbers USPS-ADS-0000064876,
-909, and -913 because they include past and
prospective spend allocations for different
categories of advertising. Disclosure of such
information would allow USPS’s competitors to
plan counterprogramming, and otherwise gain a
competitive advantage against USPS, knowing
which channels USPS emphasizes in its advertising
strategy; and

2. Pages with Bates numbers USPS-ADS-

00000649 14-915, -931-32, -934, -940, -942 because
they contain strategic discussion regarding different
types of advertising, key performance indicators,
and timelines, which, if disclosed, would allow
USPS’s competitors to plan counterprogramming to
the detriment of USPS’s business.

While the information in this presentation is from
September 2021, there is sufficient continuity in
USPS’s spending strategies that all the requested
redactions contain information that remains very
valuable to USPS’s competitors that would allow them
to be able to accurately estimate USPS’s current
spending.

See Decl. of Christopher Karpenko (USPS) §§ 9-10,
ECF No. 666-19.

PX 91

672-5

Excerpt of a conformed copy of the Air
Force’s advertising contract with GSD&M,

Plaintiffs request redactions colored yellow because (a)
pricing associated with specific contract line items is
not generally available to the public and proprietary

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Exhibit No. | ECF No. | Description Basis for Sealing
with beginning Bates number USAF-ADS- commercial information. Disclosure of this pricing
0000771834. information would compromise the Air Force’s future

negotiating positions and (b) contact information for
Air Force staff included in the document is not widely
published or available to the general public as a matter
of course and making it available on the public docket
threatens to disrupt orderly and efficient agency
operations. See Decl. of Barry Dickey (Air Force) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal J 3, 6

(filed herewith).
PX 92 672-6 Excerpt of the Army’s advertising contract Plaintiffs request redactions colored yellow because (a)
with DDB, with a beginning Bates number metrics and data in this document are commercially
ARMY-ADS-0000245462. sensitive and not available to the general public, and

making them available on the public docket could
prejudice the Army’s ability to conduct business, and
(b) contact information for Army staff included in the
documents cited in this declaration is not widely
published or available to the general public as a matter
of course, and making it available on the public docket
threatens to disrupt orderly and efficient agency
operations. See Decl. of Col. John Horning (Army) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal 4 8-9

(filed herewith).
PX 93 672-7 Excerpts from a Task Order Document for a Plaintiffs request redactions colored yellow for the
CMS contract pages with Bates numbers CMS-ADS-0000011874—

(75FCMC18D0046/75FCMC19F0002) with 875 because they pertain to the specific dollar amounts
Bates number range CMS-ADS-0000011868 of indirect costs, which, if disclosed, would prejudice

to CMS-ADS-0000011876. CMS’s ability to conduct business. See Decl. of
Christopher Koepke (CMS) §§ 8—9, ECF No. 666-12.
PX 170 675-9 Email correspondence from S. Edlavitch to E. | Plaintiffs request redactions colored yellow because
Blazar, ef a/., with subject line “RE: CMS: they contain contact information for CMS staff, which,
SEP — Agency of Record,” with attachment, if disclosed, would threaten to disrupt orderly and

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Exhibit No. | ECF No. | Description Basis for Sealing
with Bates number range CMS-ADS- efficient agency operations. See Decl. of Christopher
0000380931 to CMS-ADS-0000380932. Koepke (CMS) §§ 13—14, ECF No. 666-12.
Google’s Exhibits
Google’s 601-1 Excerpts from the Expert Rebuttal Report of Plaintiffs request redactions colored yellow because
Exhibit Adoria Lim, dated February 13, 2024. they contain details regarding USPS’s spending on
(“DX”) 62 digital advertising and its media purchasing

methodology. While the amounts are aggregated over a

four-year period, there is sufficient spending

information to allow USPS’s competitors to learn
significant information about USPS’s spending, which
would have a detrimental impact on USPS’s business.

See Decl. of Christopher Karpenko (USPS) in Supp. of

Pls.’ Resp. to Google’s Mot. to Seal § 5 (filed

herewith).

DX 67 601-3 Email correspondence from S. Edlavitch to E. | Plaintiffs request redactions colored yellow because
Blazer, et a/., with subject line “Re: OE8 they contain contact information for CMS staff, which,
Campaign results,” dated January 28, 2021, if disclosed, would threaten to disrupt orderly and
with Bates number range CMS-ADS- efficient agency operations. See Decl. of Kenneth
0000373744 to CMS-ADS-0000373745. Whitley (CMS) in Supp. of Pls.’ Resp. to Google’s

Mot. to Seal § 3 (filed herewith).

DX 71 602-1 Excerpts from email correspondence from S. Plaintiffs request redactions colored yellow for the
Chang to C. Karpenko, ef a/., with subject line | following:
“RE: UM Contract,” with attachments, dated 1. Pages with Bates numbers USPS-ADS-
January 17, 2023, with Bates number range 0000902290-291 and -293 because they include the
USPS-ADS-0000902290 to USPS-ADS- contact information of USPS staff. Disclosure of
0000902373. such contact information threatens to disrupt orderly
and efficient agency operations;

2. Page with Bates number USPS-ADS-0000902292
because it contains the minimum and maximum ad
spend USPS is willing to pay. Disclosure of such
information would benefit USPS’s competitors to
the detriment of USPS:

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Exhibit No.

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Basis for Sealing

3. Pages with Bates numbers USPS-ADS-0000902354,
-362 because they contain specific rates negotiated
between USPS and its ad agency, Universal
McCann. Disclosure of these rates would
significantly limit USPS’s ability to negotiate rates
with other advertising agencies; and

4. Page with Bates number USPS-ADS-0000902357
because it contains discussion concerning who
USPS considers to be its key competitors in the
market. Such information about key competitors is
commercially sensitive and disclosure would be
detrimental to the business interests of USPS.

See Decl. of Christopher Karpenko (USPS) § 7-8, 11,
ECF No. 666-19.

DX 73

602-3

Excerpt of the Navy’s advertising contract
with Y&R, with Bates number beginning
NAVY-ADS-0000256935.

Plaintiffs request redactions colored yellow because
this document contains the agency’s unit and extended
pricing for its non-cost contract line items. Navy’s
practice is not to share unit or extended pricing for this
contract on publicly accessible government portals
such as SAM. gov or in response to FOIA requests. See
Decl. of Allen Owens (Navy) § 10, ECF No. 666-17.

DX 74

602-4

Excerpts from email correspondence from K.
Housein to P. Jenkins, et a/., with subject line
“LRFP 220606 Health Insurance Exchange
Public Education and Outreach — Award,” with
attachments, dated June 14, 2022, with Bates
number range CMS-ADS-0000018746 to
CMS-ADS-0000018764.

Plaintiffs request redactions colored yellow because
they contain contact information for CMS staff, which,
if disclosed, would threaten to disrupt orderly and
efficient agency operations. See Decl. of Kenneth
Whitley (CMS) in Supp. of Pls.’ Resp. to Google’s
Mot. to Seal § 3 (filed herewith).

DX 75

602-5

2022 media plan showing digital media
strategy and recommendations relative to a
certain ad campaign, a Comment Resolution

Plaintiffs request redactions colored yellow because (a)
the Comment Resolution Matrix is commercially
sensitive in that, if disclosed, contractors could gain an

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Exhibit No. | ECF No. | Description Basis for Sealing
Matrix showing the Air Force’s feedback to unfair advantage in understanding the Air Force’s
the plan, and a cover email noting that the ad acquisition strategy and planning, (b) data on the last
agency incorporated the feedback and slide of document is not generally available to the
requesting Air Force’s approval of the updated | public and contains detailed information on the
plan, with Bates number beginning at USAF- __| recruiting efforts of the Air Force which could be used
ADS-0000001422. in aggregate by adversaries to compile intelligence on

the Air Force’s capabilities, and (c) contact information
for Air Force staff included in the document is not
widely published or available to the general public as a
matter of course and making it available on the public
docket threatens to disrupt orderly and efficient agency
operations. See Decl. of Barry Dickey (Air Force) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal ff 4, 6
(filed herewith).

DX 76 746 Excerpt of a task order pursuant to Contract Plaintiffs request redactions colored yellow because
No. 693JJ919D000003 between NHTSA and _ | contact information for NHTSA staff is not widely
Stratacomm and a cover email about that task | published or available to the general public as a matter
order, with Bates number beginning at of course, and making it available on the public docket
NHTSA-ADS-0000344712. threatens to disrupt orderly and efficient agency

operations. See Decl. of Stephen Hench (NHTSA) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal § 4 (filed
herewith).

DX 77 602-6 Slide describing the Army’s national media Plaintiffs request redactions colored yellow because (a)
optimization process and related email metrics and data in this document are commercially
correspondence, with Bates number beginning _ | sensitive and not available to the general public, and
at ARMY-ADS-0000060557. making them available on the public docket could

prejudice the Army’s ability to conduct business, and
(b) contact information for Army staff included in the
documents cited in this declaration is not widely
published or available to the general public as a matter
of course, and making it available on the public docket
threatens to disrupt orderly and efficient agency

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Exhibit No.

ECF No.

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operations. See Decl. of Col. John Horning (Army) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal §§ 8-9
(filed herewith).

DX 97

604-4

Backup data for Figure 11 of Appendix E of
the Expert Rebuttal Report of Adoria Lim.

Plaintiffs request redactions colored yellow for the

following:

1. Pages 9-10 and 12-13 because they contain the
unique identifiers of all the FAAs and their ad
agencies, which, if disclosed, could be used for
fraudulent and other nefarious purposes to the
detriment of the FAAs; and

2. Pages 2, 4, 6-7, 9, 13 because they contain details
regarding USPS’s spending on digital advertising
and granular detail regarding its media purchasing
methodology. Such detailed descriptions are
competitively sensitive and would be detrimental to
USPS if disclosed publicly. See Decl. of Christopher
Karpenko (USPS) in Supp. of Pls.’ Resp. to
Google’s Mot. to Seal ¥ 5 (filed herewith).

DX 99

604-5

Digital media bills and billing memos received
from the Navy’s digital media contractor, with
Bates number beginning at NAVY-ADS-
0000373978.

Plaintiffs request redactions colored yellow because (a)
contact information for Navy staff included in this
document is not widely published or available to the
general public as a matter of course and making that
available on the public docket threatens to disrupt
orderly and efficient agency operations; (b) contractor
confidential financial information, including the
contractor’s ABA routing number, account
information, swift code, lockbox and other financial
information is proprietary and confidential information
protected from disclosure, not widely published or
available to the general public as a matter of course,
and making the information available on the public
docket would compromise the willingness of future

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Exhibit No.

ECF No.

Description

Basis for Sealing

contractors to do business with the government because
of the financial risk that disclosure of that information
causes for the contractor; and (c) billing information
net amounts could collectively constitute proprietary
and confidential information relative to the media
contractor’s purchases of digital media engagement. In
developing its recommended strategies to address Navy
requirements for media purchases, the agency identifies
recommended partners, timing and amount given the
Navy’s available funding for the media purchase. This
information should be redacted as this information
could be reverse engineered to uncover the contractor’s
strategy for allocation of funding and selection of
media placement that is considered proprietary to the
government. If disclosed, the discount available to the
contractor, the rate obtained by the contractor per
impression, or any other information that could
disclose the contractor’s subcontracting relationships
could adversely impact the Navy’s ability to evaluate
contractors in future procurements. This disclosure
could adversely impact the Government’s ability to
independently evaluate offeror’s competency,
thoroughness, capability and overall value per metric
during the technical and/or pricing evaluation of any
follow-on requirement for this or similar services. See
Decl. of Allen Owens (Navy) in Supp. of Pls.’ Resp. to
Google’s Mot. to Seal §§ 6-8 (filed herewith).

DX 139

709-7

Invoice and backup material from GSD&M to
Air Force relative to digital media, with Bates
number beginning at USAF-ADS-
0000506005.

Plaintiffs request redactions colored yellow because
contact information for Air Force staff included in the
document is not widely published or available to the
general public as a matter of course and making it
available on the public docket threatens to disrupt

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Exhibit No.

ECF No.

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Basis for Sealing

orderly and efficient agency operations. See Decl. of
Barry Dickey (Air Force) in Supp. of Pls.’ Resp. to
Google’s Mot. to Seal § 6 (filed herewith).

DX 140

709-8

Purchase documentation, invoices, and invoice
backup material concerning Army’s digital
media buys with DDB/OMD, with Bates
number beginning at ARMY-ADS-
0000504378.

Plaintiffs request redactions colored yellow because (a)
metrics and data in this document are commercially
sensitive and not available to the general public, and
making them available on the public docket could
prejudice the Army’s ability to conduct business, and
(b) contact information for Army staff included in the
documents cited in this declaration is not widely
published or available to the general public as a matter
of course, and making it available on the public docket
threatens to disrupt orderly and efficient agency
operations. See Decl. of Col. John Horning (Army) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal §§ 8-9
(filed herewith).

DX 142

709-10

Invoices from Universal McCann Worldwide,
Inc. to USPS, dated February 17, 2022, with
Bates number range USPS-ADS-000066968 1
to USPS-ADS-00006697 14.

Plaintiffs request redactions colored yellow, which
pertain to the amounts of money spent on specific
categories of advertising by USPS for specific months.
Such information is highly commercially sensitive and,
if disclosed, could enable competitors to better counter
USPS’s advertising efforts.

While these invoices are from 2022, there is sufficient
continuity in USPS’s advertising strategy that
disclosure of these amounts or the specific categories
employed by USPS and its ad agency, Universal
McCann, would reveal highly sensitive information
about USPS’s current advertising strategies and be
highly detrimental to the business of USPS.

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Exhibit No. | ECF No. | Description Basis for Sealing
See Decl. of Christopher Karpenko (USPS) in Supp. of
Pls.’ Resp. to Google’s Mot. to Seal 4 3-4 (filed
herewith).
DX 143 709-11 An invoice from The District Communications | Plaintiffs request redactions colored yellow because
Group to the VA, dated July 31, 2020, with they contain contact information for staff at the VA,
Bates number range VET-AF-ADS- which, if disclosed, would threaten to disrupt orderly
0000376131 to VET-AF-ADS-0000376155. and efficient agency operations. See Decl. of Laura
Reass (the VA) in Supp. of Pls.’ Resp. to Google’s
Mot. to Seal § 3 (filed herewith).
DX 144 709-12 Digital media bills, detailed backups, Plaintiffs request redactions colored yellow because (a)

subcontractor invoices, portions of the “Navy
Tactical Media Reco” slides, and
correspondence related to the Navy’s quarterly
paid media plans, with Bates number
beginning at NAVY-ADS-0000250171.

contact information for Navy staff included in this
document is not widely published or available to the
general public as a matter of course and making that
available on the public docket threatens to disrupt
orderly and efficient agency operations; (b) contractor
confidential financial information, including the
contractor’s ABA routing number, account
information, swift code, lockbox and other financial
information is proprietary and confidential information
protected from disclosure, not widely published or
available to the general public as a matter of course,
and making the information available on the public
docket would compromise the willingness of future
contractors to do business with the government because
of the financial risk that disclosure of that information
causes for the contractor; and (c) billing information
net amounts could collectively constitute proprietary
and confidential information relative to the media
contractor’s purchases of digital media engagement. In
developing its recommended strategies to address Navy
requirements for media purchases, the agency identifies
recommended partners, timing and amount given the

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Navy’s available funding for the media purchase. This
information should be redacted as this information
could be reverse engineered to uncover the contractor’s
strategy for allocation of funding and selection of
media placement that is considered proprietary to the
government. If disclosed, the discount available to the
contractor, the rate obtained by the contractor per
impression, or any other information that could
disclose the contractor’s subcontracting relationships
could adversely impact the Navy’s ability to evaluate
contractors in future procurements. This disclosure
could adversely impact the Government’s ability to
independently evaluate offeror’s competency,
thoroughness, capability and overall value per metric
during the technical and/or pricing evaluation of any
follow-on requirement for this or similar services. See
Decl. of Allen Owens (Navy) in Supp. of Pls.’ Resp. to
Google’s Mot. to Seal §§ 6-8 (filed herewith).

DX 154

709-19

Excerpt of a slide deck about the Army’s
marketing mix modeling national paid media
utilization assessments, with Bates number
beginning at ARMY-ADS-0000187048.

Plaintiffs request redactions colored yellow because (a)
metrics and data in this document are commercially
sensitive and not available to the general public, and
making them available on the public docket could
prejudice the Army’s ability to conduct business, and
(b) contact information for Army staff included in the
documents cited in this declaration is not widely
published or available to the general public as a matter
of course, and making it available on the public docket
threatens to disrupt orderly and efficient agency
operations. See Decl. of Col. John Horning (Army) in
Supp. of Pls.’ Resp. to Google’s Mot. to Seal 4§ 8-9
(filed herewith).

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Exhibit No.

ECF No.

Description

Basis for Sealing

DX 155

709-20

Excerpt of a Teams meeting confirmation and
a portion of the Navy’s June-July “Tactical
Recommendation” presentation, with Bates
number beginning at NAVY-ADS-
0000019114.

Plaintiffs request redactions colored yellow because (a)
contact information for Navy staff included in this
document is not widely published or available to the
general public as a matter of course and making that
available on the public docket threatens to disrupt
orderly and efficient agency operations; (b) contractor
confidential financial information, including the
contractor’s ABA routing number, account
information, swift code, lockbox and other financial
information is proprietary and confidential information
protected from disclosure, not widely published or
available to the general public as a matter of course,
and making the information available on the public
docket would compromise the willingness of future
contractors to do business with the government because
of the financial risk that disclosure of that information
causes for the contractor; and (c) billing information
net amounts could collectively constitute proprietary
and confidential information relative to the media
contractor’s purchases of digital media engagement. In
developing its recommended strategies to address Navy
requirements for media purchases, the agency identifies
recommended partners, timing and amount given the
Navy’s available funding for the media purchase. This
information should be redacted as this information
could be reverse engineered to uncover the contractor’s
strategy for allocation of funding and selection of
media placement that is considered proprietary to the
government. If disclosed, the discount available to the
contractor, the rate obtained by the contractor per
impression, or any other information that could
disclose the contractor’s subcontracting relationships

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could adversely impact the Navy’s ability to evaluate
contractors in future procurements. This disclosure
could adversely impact the Government’s ability to
independently evaluate offeror’s competency,
thoroughness, capability and overall value per metric
during the technical and/or pricing evaluation of any
follow-on requirement for this or similar services. See
Decl. of Allen Owens (Navy) in Supp. of Pls.’ Resp. to
Google’s Mot. to Seal §§ 6-8 (filed herewith).

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